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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 EVELINA CALCANO, ON BEHALF OF        :
 HERSELF AND ALL OTHER PERSONS        :
 SIMILARLY SITUATED,                  :
                                      :                  No.: 1:21-cv-7148
                 Plaintiffs,          :
                                      :
                     v.               :                  NOTICE OF VOLUNTARY
                                      :                  DISMISSAL
 LUCKY SCENT, INC.,                   :
                                      :
                 Defendant.           :
                                      :
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       Plaintiff(s), EVELINA CALCANO, in accordance with Rule 41(a)(1)(A)(i) of the

Federal Rules of Civil Procedure, hereby dismisses the above entitled action against Defendant,

LUCKY SCENT, INC., with prejudice and without fees and costs.

Dated: New York, New York
       October 8, 2021

                                                                       GOTTLIEB & ASSOCIATES

                                                                          /s/Michael A. LaBollita, Esq.

                                                               Michael A. LaBollita, Esq., (ML-9985)
                                                                     150 East 18th Street, Suite PHR
                                                                               New York, NY 10003
                                                                             Phone: (212) 228-9795
                                                                                Fax: (212) 982-6284
                                                                             Michael@Gottlieb.legal

                                                                                Attorneys for Plaintiffs

SO ORDERED:

_____________________________
United States District Court Judge

Dated:        November 10, 2021
              New York, New York
